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 8                            IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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11   ROGER McINTOSH,                                         CASE NO. CV F 07-1080 LJO GSA
12                          Plaintiff,                       ORDER ON BRIEFING PAGE LIMITS
                                                             (Doc. 374.)
13          vs.
14   NORTHERN CALIFORNIA
     UNIVERSAL ENTERPRISES,
15   INC., et al.,
16                          Defendants.
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18          Defendant City of Wasco (“Wasco”) seeks leave to exceed this Court’s briefing limits. This
19   Court treats briefs in excess of page limits as a necessity, not a luxury to be taken lightly. This Court
20   PERMITS Wasco to file an opening post-judgment motion brief not to exceed 33 pages on the condition
21   that such brief is well-organized, clear and succinct and avoids unnecessary duplication. All other
22   briefing shall conform to the Standing Order page limitations of this Court, unless this Court orders
23   otherwise.
24          IT IS SO ORDERED.
25   Dated:       May 12, 2010                           /s/ Lawrence J. O'Neill
     66h44d                                          UNITED STATES DISTRICT JUDGE
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